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5
     Attorney for Defendant
     FRED PINEDA
6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
7

8

9    UNITED STATES OF AMERICA,                       )       No. CR-S-11-134 JAM
                                                     )
                                                     )
10           Plaintiff,                              )       STIPULATION REGARDING
11
                                                     )       EXCLUDABLE TIME PERIODS
     v.                                              )       UNDER SPEEDY TRIAL ACT;
                                                     )       FINDINGS
12
     JUAN LOPEZ ALVARADO, et al.,                    )
                                                     )       Date: January 29, 2013
13
                                                     )       Time: 9:45 a.m.
             Defendants.                             )       Judge: Honorable John A. Mendez
14
                                                     )
                                                     )
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                                                     )
16
             The United States of America through its undersigned counsel, Michael M. Beckwith,
17
     Assistant United States Attorney, together with counsel for defendant Estanislao Garcia, Arturo
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19   Hernandez, Esq., counsel for defendant Fred Pineda, John R. Manning, Esq., counsel for

20   defendant Cesar Rafael Torres, Christopher R. Cosca, Esq., and counsel for defendant Jose
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     Mario Medrano, Matthew McCrary Scoble, Esq., hereby stipulate the following:
22
          1. By previous order, this matter was set for status conference on October 30, 2012.
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24
          2. By this stipulation, defendants now move to continue the status conference until January

25   29, 2013 at 9:45 a.m., and to exclude time between October 30, 2012 and January 29, 2013 under
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     the Local Codes T-2 (unusual or complex case) and T-4 (to allow defense counsel time to
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     prepare).
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     3.   The parties agree and stipulate, and request the Court find the following:
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2         a. This is a complex case, including 5,000 pages of discovery as well as three discs of

3            recorded phone calls (containing hundreds of recorded conversations), and six co-
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             defendants (a total of 13 Indicted).   Some defendants are currently incarcerated at
5
             the Butte County Jail in Oroville, California; approximately 120 miles roundtrip from
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7
             downtown Sacramento.

8         b. Counsel for the defendants need additional time to review the discovery; review
9            investigation reports; discuss USSG calculations with defendants; and, review
10
             proposed plea agreements.
11
          c. Counsel for defendants believe the failure to grant a continuance in this case would
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13           deny defense counsel reasonable time necessary for effective preparation, taking into

14           account the exercise of due diligence.
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          d. The Government does not object to the continuance.
16
          e. Based on the above-stated findings, the ends of justice served by granting the
17
             requested continuance outweigh the best interests of the public and the defendants in
18

19           a speedy trial within the original date prescribed by the Speedy Trial Act.

20        f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
21
             Section 3161(h)(7)(A) within which trial must commence, the time period of October
22
             30, 2012 to January 29, 2012, inclusive, is deemed excludable pursuant to 18 United
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24
             States Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to Local

25           Codes T-2 and T-4 because it results from a continuance granted by the Court at
26           defendant’s request on the basis of the Court’s finding that the ends of justice served
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                by taking such action outweigh the best interest of the public and the defendant in a
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2               speedy trial.

3    4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
4
        Speedy Trial Act dictate that additional time periods are excludable from the period within
5
        which a trial must commence.
6

7    IT IS SO STIPULATED.
8
     Dated: October 25, 2012                                      /s/ Arturo Hernandez
9                                                                 ARTURO HERNANDEZ
                                                                  Attorney for Defendant
10                                                                Estanislao Garcia
11
     Dated: October 25, 2012                                       /s/ John R. Manning
12                                                                JOHN R. MANNING
                                                                  Attorney for Defendant
13
                                                                  Fred Pineda
14
     Dated: October 25, 2012                                      /s/ Mathew Scoble
15                                                                MATTHEW MCCRARY SCOBLE
                                                                  Attorney for Defendant
16
                                                                  Jose Mario Medrano
17
     Dated: October 25, 2012                                      /s/ Christopher Cosca
18                                                                CHRISTOPHER R. COSCA
                                                                  Attorney for Defendant
19
                                                                  Cesar Rafael Torres
20

21   Dated: October 25, 2012                                      Benjamin B. Wagner
                                                                  United States Attorney
22

23                                                                by:/s/ Michael Beckwith
                                                                  MICHAEL M. BECKWITH
24                                                                Assistant U.S. Attorney
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1

2                              ORDER
     IT IS SO FOUND AND ORDERED this 26th day of October, 2012.
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5                                          /s/ John A. Mendez____________
6                                          Hon. John A. Mendez
                                           United States District Court Judge
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